AO 245B (WDNC Rev. 4/09) Judgment in a Criminal Case



                                                 United States District Court
                                            For The Western District of North Carolina

UNITED STATES OF AMERICA                                                           JUDGM ENT IN A CRIM INAL CASE
                                                                           (For Offenses Com m itted On or After Novem ber 1, 1987)
        V.
                                                                           Case Num ber: DNCW 508CR000048-003
LON JONATHAN BROOKS, JR.
                                                                           USM Num ber: 23190-058

                                                                           Michael Archenbronn
                                                                           Defendant’s Attorney

THE DEFENDANT:

X       pleaded guilty to count(s) 1.
        Pleaded nolo contendere to count(s) which was accepted by the court.
        W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                           Date Offense
 Title and Section               Nature of Offense                                         Concluded                        Counts

 18:371                          Conspiracy to defraud the United States                   6/17/08                          1



      The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

        The defendant has been found not guilty on count(s) .
        Count(s) (is)(are) dism issed on the m otion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.

                                                                                 Date of Im position of Sentence: February 9, 2010




                                                                                 Date:         February 19, 2010




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                                                               IM PRISONM ENT

      The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
SIXTY (60) MONTHS.




X    The Court m akes the following recom m endations to the Bureau of Prisons:
           That defendant be designated to a facility as close to his hom e in Gastonia, NC, as possible.
           That defendant be allowed to participate in any available substance abuse treatm ent program s while incarcerated. The
           substance abuse treatm ent program is not to be under 18:3621(e)(2).
           That defendant be allowed to participate in the Offender W orkforce Developm ent Program while incarcerated.
           That defendant be allowed to participate in educational and vocational opportunities while incarcerated.
           That defendant participate in a m ental health treatm ent program while incarcerated.
           That during the period of im prisonm ent m onetary penalty paym ents shall be m ade through the Federal Bureau of
           Prison’s Inm ate Financial Responsibility Program .

X    The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

             At        On     .
             As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


             Before 2 pm on .
             As notified by the United States Marshal.
             As notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this Judgm ent as follows:




        Defendant delivered on                                         To

At                                                     , with a certified copy of this Judgm ent.


                                                                                       United States Marshal

                                                                               By
                                                                                       Deputy Marshal




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                                                                 SUPERVISED RELEASE

        Upon release from im prisonm ent, the defendant shall be on supervised release for a term of THREE (3) YEARS.

        The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
        risk of future substance abuse.

                                                   STANDARD CONDITIONS OF SUPERVISION

        The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.      The defendant shall not commit another federal, state, or local crime.
2.      The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.      The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the
        term of supervised release on a schedule to be established by the court.
4.      The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.      The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.      The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.      The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete written
        report within the first five days of each month.
8.      A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
        from custody of the Bureau of Prisons.
 9.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.     The defendant shall support his or her dependents and meet other family responsibilities.
11.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
        the probation officer.
12.     The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or other
        controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.     The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer, until such
        time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a drug test within 15 days
        of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
        of 18:3563(a)(5) or 18:3583(d), respectively.
15.     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.     The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
        granted permission to do so by the probation officer.
17.     The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer and such
        other law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a search may be grounds
        for revocation of probation or supervised release. The defendant shall warn other residents or occupants that such premises or vehicle may be subject
        to searches pursuant to this condition.
18.     The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed by the probation officer.
19.     The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
        Court.
21.     As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
        history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.
22.     If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in defendant’s economic
        circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.     If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the electronic
        monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.     The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:


25.     The defendant shall submit to a mental health evaluation/treatment program under the guidance and supervision of the U. S. Probation Office. The
        defendant shall remain in treatment and maintain any prescribed medications until satisfactorily discharged by the program and/or with the approval of
        the U. S. Probation Office.




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                                                   CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


               ASSESSM ENT                                          FINE                                      RESTITUTION

                    $100.00                                         $0.00                                       $906,387.29



                                                                   FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X           The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X           The interest requirem ent is waived.

            The interest requirem ent is m odified as follows:


                                                  COURT APPOINTED COUNSEL FEES

            The defendant shall pay court appointed counsel fees.

            The defendant shall pay $                  Towards court appointed fees.




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                                                          SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

        A               Lum p sum paym ent of $                Due im m ediately, balance due

                        Not later than             , or
                        In accordance         ©,          (D) below; or

        B    X          Paym ent to begin im m ediately (m ay be com bined with         ©,      X (D) below); or

        C               Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $             To com m ence
                          (E.g. 30 or 60 days) after the date of this judgm ent; or

        D    X          Paym ent in equal m onthly installm ents of $ 50.00 to com m ence 60 days after release from
                        im prisonm ent to a term of supervision. In the event the entire am ount of crim inal m onetary penalties
                        im posed is not paid prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue
                        collection of the am ount due, and m ay request the court to establish or m odify a paym ent schedule if
                        appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court costs:
        The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary
penalty paym ents are to be m ade to the United States District Court Clerk, 200 W est Broad Street, Room 100, Statesville, NC
28677, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal
m onetary penalty paym ents are to be m ade as directed by the court.

The Defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                                                       RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                           AMOUNT OF RESTITUTION ORDERED
 Advance Auto                                                                                                $636.20

 Auto Zone                                                                                                 $1,694.07

 Bank of Am erica                                                                                         $13,487.56

 BiLo                                                                                                        $504.19

 Brandon’s Garden Center                                                                                     $853.86

 Carolina Golf Carts                                                                                       $5,225.00

 China City                                                                                                     $96.57

 City of Gastonia                                                                                            $404.87

 College Building Supplies                                                                                   $387.87

 CVS                                                                                                         $249.32

 Dollar General                                                                                            $2,355.79

 Dom ino’s                                                                                                   $141.57

 East End                                                                                                       $20.00

 Eckerds                                                                                                     $483.70

 Food Lion                                                                                                $14,812.96

 Food Lion                                                                                                 $5,963.02

 Fred’s                                                                                                    $1,374.68

 Goodwill                                                                                                    $670.89

 Goody’s                                                                                                     $631.62

 Harris Pools                                                                                                $378.75

 Hhgreggs                                                                                                  $4,874.11

 Hom e Depot                                                                                       not yet determ ined

 Ingles                                                                                                    $1,006.36

 Kangaroo                                                                                                    $267.12

 Kings W ay                                                                                                $1,079.22

 Kohls                                                                                                       $690.70

 Little Ceaser’s                                                                                             $377.18

 Lowe’s Hom e Im provem ent                                                                              $712,324.71

 Lowes Food                                                                                                $1,325.50

 Mattress Barn                                                                                               $370.00
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Meineke                                                                                                                    $436.39

Michael’s Hom e Supplies                                                                                                   $451.36

Movie Gallery                                                                                                               $74.63

Movie Gallery                                                                                                               $60.68

Murphy USA                                                                                                                  $42.40

Northern Tool                                                                                                            $5,254.47

Original Mattress                                                                                                          $379.85

Papa John’s                                                                                                                $334.55

Petsm art                                                                                                                $2,248.38

Pier One                                                                                                                 $1,313.96

Pizza Hut                                                                                                                $1,065.99

Publix                                                                                                                     $804.07

Queen City                                                                                                               $6,237.94

Ryan’s                                                                                                                     $513.82

Sleep tim e Mattress                                                                                                       $800.00

Swoogers                                                                                                                    $80.75

Taco Bell                                                                                                                   $36.27

TJ Maxx                                                                                                                    $345.40

Tom m y’s Drive-In                                                                                                          $56.33

Toys R Us                                                                                                                  $543.68

W alm art                                                                                                             $112,196.91

W ilco                                                                                                                     $422.07

TOTAL                                                                                                                 $906,387.29



X        Joint and Several

             X         Defendant and Co-Defendant Nam es and Case Num bers (including defendant number) if appropriate:

                       Eric Scott Brooks, 5:08CR48-1-V

                       Rose Mary Brooks, 5:08CR48-2-V

                       Raym ond Charles W ebber, 5:08CR48-4-V

                       Andrea Kennedy Cohen, 5:08CR48-5-V

                       Brian Kyle Abernathy, 5:-08CR48-6-V

             X         Court gives notice that this case m ay involve other defendants who m ay be held jointly and severally liable for
                       paym ent of all or part of the restitution ordered here in and m ay order such paym ent in the future.

             X         The victim s’ recovery is lim ited to the am ount of their loss and the defendant’s liability for restitution ceases if
                       and when the victim (s) receive full restitution.

             X         Any paym ent not in full shall be divided proportionately am ong victim s.

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                                                 STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend
the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance,
possession of a firearm and/or am m unition, and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)     ____________________________________ Date: _________________
           Defendant

(Signed)     ____________________________________ Date: _________________
           U.S. Probation Office/Designated W itness




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